Case 1:20-cv-07311-LAK Document 151 Filed 05/11/23 “Dy 50

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Case 1:20-cv-07311-LAK Document 151 Filed 05/11/23 Page 20 of 50

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» Case 1:20-cv-07311-LAK Document 151 Filed 05/11/23 Page 21 of 50

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Case 1:20-cv-07311-LAK Document 151 Filed 05/11/23 Page 22 of 50

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